      Case 1:17-cv-03463-TWT Document 182 Filed 06/26/20 Page 1 of 14
      Case l:17-cv-03463-TWT Document 177-1 Filed 06/19/20 Page 2 of 15

                                                                             FILED IN CHAMBERS
                                                                            THOMAS W. THRASH JR.
                                                                                U.S.D.C. Atlanta


                                                                               JUN 2 6 2020
                    UNITED STATES DISTRICT COURT                        JAMES N. HATTf
                    NORTHERN DISTRICT OF GEORGIA                       By:WlSW
                         ATLANTA DIVISION




 IN RE EQUIFAX INC. SECURITIES                   Consolidated Case No.
 LITIGATION                                       l:17-cv-03463-TWT




                 JUDGMENT APPROVING CLASS ACTION SETTLEMENT

      WHEREAS, a consolidated securities class action is pending in this Court

entitled In re Equifax Inc. Securities Litigation, Consolidated Case No. 1:17-cv-


03463-TWT (the "Action");

      WHEREAS, lead plaintiff Union Asset Management Holding AG ("Lead

Plaintiff), on behalf of itself and the Settlement Class (defined below); and

(b) defendants Equifax Inc. ("Equifax" or the "Company") and Richard F. Smith


("Smith" and, together with Equifax, "Defendants") (Lead Plaintiff and Defendants,


together, the "Parties") have entered into a Stipulation and Agreement of Settlement


dated February 12, 2020 (the "Stipulation"), that provides for a complete dismissal

with prejudice of the claims asserted against Defendants in the Action on the terms


and conditions set forth in the Stipulation, subject to the approval of this Court (the

"Settlement");
      Case 1:17-cv-03463-TWT Document 182 Filed 06/26/20 Page 2 of 14
      Case l:17-cv-03463-TWT Document 177-1 Filed 06/19/20 Page 3 of 15




      WHEREAS, unless otherwise defined in this Judgment, the capitalized terms


herein shall have the same meaning as they have in the Stipulation;

      WHEREAS, by Order dated February 25, 2020 (the "Preliminary Approval

Order"), this Court: (a) found, pursuant to Rule 23(e)(l)(B) of the Federal Rules of

Civil Procedure, that it (i) would likely be able to approve the Settlement as fair,

reasonable, and adequate under Rule 23(e)(2) and (ii) would likely be able to certify

the Settlement Class for purposes of the Settlement; (b) ordered that notice of the


proposed Settlement be provided to potential Settlement Class Members;


(c) provided Settlement Class Members with the opportunity either to exclude

themselves from the Settlement Class or to object to the proposed Settlement; and


(d) scheduled a hearing regarding final approval of the Settlement;

      WHEREAS, due and adequate notice has been given to the Settlement Class;


      WHEREAS, the Court conducted a hearing on June 26, 2020 (the "Settlement

Fairness Hearing") to consider, among other things, (a) whether the terms and


conditions of the Settlement are fair, reasonable, and adequate to the Settlement


Class, and should therefore be approved; and (b) whether a judgment should be

entered dismissing the Action with prejudice as against the Defendants; and


      WHEREAS, the Court having reviewed and considered the Stipulation, all

papers filed and proceedings held herein in connection with the Settlement, all oral
      Case 1:17-cv-03463-TWT Document 182 Filed 06/26/20 Page 3 of 14
      Case l:17-cv-03463-TWT Document 177-1 Filed 06/19/20 Page 4 of 15




and written comments received regarding the Settlement, and the record in the


Action, and good cause appearing therefor;


      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

       1. Jurisdiction - The Court has jurisdiction over the subject matter of the


Action, and all matters relating to the Settlement, as well as personal jurisdiction


over all of the Parties and each of the Settlement Class Members.


      2. Incorporation of Settlement Documents - This Judgment


incorporates and makes a part hereof: (a) the Stipulation filed with the Court on


February 13, 2020; and (b) the Notice and the Summary Notice, both of which were

filed with the Court on May 22, 2020.

      3. Class Certification for Settlement Purposes - The Court hereby


certifies for the purposes of the Settlement only, the Action as a class action pursuant


to Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure on behalf of the

Settlement Class consisting of all persons and entities who purchased or otherwise


acquired publicly-traded Equifax common stock during the period from February

25, 2016 through September 15, 2017, inclusive (the "Class Period"), and who were


damaged thereby (the "Settlement Class"). Excluded from the Settlement Class are:


(i) the Defendants and Former Defendants; (ii) any current or former Officers or


directors ofEquifax who served in such capacities during the Class Period; (iii) the
      Case 1:17-cv-03463-TWT Document 182 Filed 06/26/20 Page 4 of 14
      Case l:17-cv-03463-TWT Document 177-1 Filed 06/19/20 Page 5 of 15




Immediate Family Members of Defendant Smith, the Former Defendants, or any


current or former Officer or director ofEquifax who served in such capacities during


the Class Period; (iv) any entity that any Defendant or Fomier Defendant owns or

controls, or owned or controlled during the Class Period; (v) any affiliates, parents,


or subsidiaries of Equifax; and (vi) the legal representatives, heirs, successors, and


assigns of any such excluded persons and entities. Also excluded from the


Settlement Class are the persons and entities listed on Exhibit 1 hereto who or which


are excluded from the Settlement Class pursuant to request.


      4. Settlement Class Findings - For purposes of the Settlement only, the


Court finds that each element required for certification of the Settlement Class


pursuant to Rule 23 of the Federal Rules of Civil Procedure has been met: (a) the


members of the Settlement Class are so numerous that their joinder in the Action


would be impracticable; (b) there are questions of law and fact common to the


Settlement Class which predominate over any individual questions; (c) the claims of

Lead Plaintiff in the Action are typical of the claims of the Settlement Class; (d) Lead

Plaintiff and Lead Counsel have and will fairly and adequately represent and protect


the interests of the Settlement Class; and (e) a class action is superior to other


available methods for the fair and efficient adjudication of the Action.
      Case 1:17-cv-03463-TWT Document 182 Filed 06/26/20 Page 5 of 14
      Case l:17-cv-03463-TWT Document 177-1 Fiied 06/19/20 Page 6 of 15




       5. Pursuant to Rule 23 of the Federal Rules of Civil Procedure, and for the


purposes of the Settlement only, the Court hereby certifies Lead Plaintiff Union

Asset Management Holding AG as Class Representative for the Settlement Class


and appoints Lead Counsel Bernstein Litowitz Berger & Grossmann LLP as Class


Counsel for the Settlement Class. The Court finds that Lead Plaintiff and Lead

Counsel have fairly and adequately represented the Settlement Class both in terms


of litigating the Action and for purposes of entering into and implementing the


Settlement and have satisfied the requirements of Federal Rules of Civil Procedure


23(a)(4) and 23 (g), respectively.

      6. Notice - The Court finds that the dissemination of the Notice and the


publication of the Summary Notice: (a) were implemented in accordance with the


Preliminary Approval Order; (b) constituted the best notice practicable under the


circumstances; (c) constituted notice that was reasonably calculated, under the


circumstances, to apprise Settlement Class Members of (i) the pendency of the


Action; (ii) the effect of the proposed Settlement (including the Releases to be

provided thereunder); (iii) Lead Counsel's motion for an award of attorneys' fees


and Litigation Expenses; (iv) their right to object to any aspect of the Settlement, the

Plan of Allocation, and/or Lead Counsel's motion for attorneys' fees and Litigation


Expenses; (v) their right to exclude themselves from the Settlement Class; and
      Case 1:17-cv-03463-TWT Document 182 Filed 06/26/20 Page 6 of 14
      Case l:17-cv-03463-TWT Document 177-1 Fiied 06/19/20 Page 7 of 15




(vi) their right to appear at the Settlement Fairness Hearing; (d) constituted due,

adequate, and sufficient notice to all persons and entities entitled to receive notice


of the proposed Settlement; and (e) satisfied the requirements of Rule 23 of the


Federal Rules of Civil Procedure, the United States Constitution (including the Due

Process Clause), the Private Securities Litigation Reform Act of 1995, 15 U.S.C. §


78u-4, as amended, and all other applicable law and rules.


      7. Final Settlement Approval and Dismissal of Claims - Pursuant to,


and in accordance with. Rule 23(e)(2) of the Federal Rules of Civil Procedure, this

Court hereby fully and finally approves the Settlement set forth m the Stipulation in

all respects (including, without limitation: the amount of the Settlement; the


Releases provided for therein; and the dismissal with prejudice of the claims asserted


against Defendants in the Action), and finds that the Settlement is, in all respects,


fair, reasonable, and adequate to the Settlement Class. Specifically, the Court finds


that: (a) Lead Plaintiff and Lead Counsel have adequately represented the

Settlement Class; (b) the Settlement was negotiated by the Parties at arm's length;


(c) the relief provided for the Settlement Class under the Settlement is adequate

taking mto account the costs, risks, and delay of trial and appeal; the proposed means


of distributing the Settlement Fund to the Settlement Class; and the proposed


attorneys' fee award; and (d) the Settlement treats members of the Settlement Class
      Case 1:17-cv-03463-TWT Document 182 Filed 06/26/20 Page 7 of 14
      Case l:17-cv-03463-TWT Document 177-1 Fiied 06/19/20 Page 8 of 15




equitably relative to each other. There was one objection to the Settlement, filed


jointly by Brenda A. Marotto and Marc W. Potvin (the "Objectors"). The Court has


considered the objection filed by the Objectors and it is denied. The Parties are

directed to implement, perform, and consummate the Settlement in accordance with


the terms and provisions contained in the Stipulation.


      8. The Action and all of the claims asserted against Defendants in the

Action by Lead Plaintiff and the other Settlement Class Members are hereby


dismissed with prejudice. The Parties shall bear their own costs and expenses,


except as otherwise expressly provided in the Stipulation.


      9. Binding Effect - The terms of the Stipulation and of this Judgment


shall be forever binding on Defendants, Lead Plaintiff, and all other Settlement Class


Members (regardless of whether or not any individual Settlement Class Member


submits a Claim Form or seeks or obtains a distribution from the Net Settlement


Fund), as well as their respective successors and assigns. The persons and entities


listed on Exhibit 1 hereto are excluded from the Settlement Class pursuant to request


and are not bound by the terms of the Stipulation or this Judgment.


      10. Releases - The Releases set forth in paragraphs 5 and 6 of the


Stipulation, together with the definitions contained in paragraph 1 of the Stipulation




                                          7
      Case 1:17-cv-03463-TWT Document 182 Filed 06/26/20 Page 8 of 14
      Case l:17-cv-03463-TWT Document 177-1 FJied 06/19/20 Page 9 of 15




relating thereto, are expressly incorporated herein in all respects. The Releases are


effective as of the Effective Date. Accordingly, this Court orders that:


                (a) Without further action by anyone, and subject to paragraph 11

below, upon the Effective Date of the Settlement, Lead Plaintiff and each of the other

Settlement Class Members, on behalf of themselves, and their respective heirs,


executors, administrators, predecessors, successors, and assigns in their capacities


as such only, shall be deemed to have, and by operation of law and of this Judgment


shall have, fully, finally, and forever compromised, settled, released, resolved,


relinquished, waived, and discharged any or all of the Released Plaintiffs Claims

against Defendants and the other Defendants' Releasees, and shall forever be barred


and enjoined from prosecuting any or all of the Released Plaintiffs Claims against


any of the Defendants' Releasees. This Release shall not apply to any of the


Excluded Plaintiffs Claims (as that tenn is defined in paragraph l(t) of the

Stipulation).

                (b) Without further action by anyone, and subject to paragraph 11

below, upon the Effective Date of the Settlement, Defendants and Former


Defendants, on behalf of themselves, and their respective heirs, executors,


administrators, predecessors, successors, and assigns in their capacities as such only,

shall be deemed to have, and by operation of law and of this Judgment shall have,




                                           8
      Case 1:17-cv-03463-TWT Document 182 Filed 06/26/20 Page 9 of 14
     Case l:17-cv-03463-TWT Document 177-1 FiEed 06/19/20 Page 10 of 15




fully, finally, and forever compromised, settled, released, resolved, relinquished,


waived, and discharged any or all of the Released Defendants' Claims against Lead


Plaintiff and the other Plaintiffs Releasees, and shall forever be barred and enjoined

from prosecuting any or all of the Released Defendants' Claims agamst any of the


Plaintiffs Releasees. This Release shall not apply to any of the Excluded


Defendants' Claims (as that term is defined in paragraph l(s) of the Stipulation).

      11. Notwithstanding paragraphs 10(a) - (b) above, nothing in this

Judgment shall bar any action by any of the Parties to enforce or effectuate the terms


of the Stipulation or this Judgment.


      12. Rule 11 Findings - The Court finds and concludes that the Parties and


their respective counsel have complied in all respects with the requirements of Rule


11 of the Federal Rules of Civil Procedure in connection with the institution,


prosecution, defense, and settlement of the Action.


      13. No Admissions - Neither this Judgment, the Term Sheet, the


Stipulation (whether or not consummated), including the exhibits thereto and the


Plan of Allocation contained therein (or any other plan of allocation that may be


approved by the Court), the negotiations leading to the execution of the Term Sheet

and the Stipulation, nor any proceedings taken pursuant to or m connection with the
     Case 1:17-cv-03463-TWT Document 182 Filed 06/26/20 Page 10 of 14
     Case l:17-cv-03463-TWT Document 177-1 Filed 06/19/20 Page 11 of 15




Term Sheet, the Stipulation, and/or approval of the Settlement (including any


arguments proffered in connection therewith):


             (a) shall be offered against any of the Defendants' Releasees as


evidence of, or constmed as, or deemed to be evidence of any presumption,


concession, or admission by any of the Defendants' Releasees with respect to the


truth of any fact alleged by Lead Plaintiff or the validity of any claim that was or

could have been asserted or the deficiency of any defense that has been or could


have been asserted in this Action or in any other litigation, or of any liability,


negligence, fault, or other wrongdoing of any kind of any of the Defendants'


Releasees, or in any way referred to for any other reason as against any of the


Defendants' Releasees, in any arbitration proceeding or other civil, criminal, or


administrative action or proceeding, other than such proceedings as may be


necessary to effectuate the provisions of the Stipulation;


             (b) shall be offered against any of the Plaintiffs Releasees as

evidence of, or construed as, or deemed to be evidence of any presumption,


concession, or admission by any of the Plaintiffs Releasees that any of their claims


are without merit, that any of the Defendants' Releasees had meritorious defenses,


or that damages recoverable under the Complaint would not have exceeded the


Settlement Amount, or with respect to any liability, negligence, fault, or wrongdoing




                                          10
     Case 1:17-cv-03463-TWT Document 182 Filed 06/26/20 Page 11 of 14
     Case l:17-cv-03463-TWT Document 177-1 Filed 06/19/20 Page 12 of 15




of any kind, or in any way referred to for any other reason as against any of the


Plaintiffs Releasees, in any arbitration proceeding or other civil, criminal, or


administrative action or proceeding, other than such proceedings as may be


necessary to effectuate the provisions of the Stipulation;


              (c) shall be offered as evidence of, or construed as evidence of, any


presumption, concession, or admission that class certification is appropriate in this


Action, except for purposes of this Settlement; or


              (d) shall be construed against any of the Releasees as an admission,


concession, or presumption that the consideration to be given under the Settlement


represents the amount which could be or would have been recovered after trial;


provided, however, that the Parties and the Releasees and their respective counsel


may refer to this Judgment and the Stipulation to effectuate the protections from


liability granted hereunder and thereunder or otherwise to enforce the terms of the


Settlement.


       14. Retention of Jurisdiction - Without affecting the finality of this

Judgment in any way, this Court retains continuing and exclusive jurisdiction over:


(a) the Parties for purposes of the administration, interpretation, implementation, and


enforcement of the Settlement; (b) the disposition of the Settlement Fund; (c) any

motion for an award of attorneys' fees and/or Litigation Expenses by Lead Counsel




                                          11
     Case 1:17-cv-03463-TWT Document 182 Filed 06/26/20 Page 12 of 14
     Case l:17-cv-03463-TWT Document 177-1 Fiied 06/19/20 Page 13 of 15




in the Action that will be paid from the Settlement Fund; (d) any motion to approve

the Plan of Allocation; (e) any motion to approve the Class Distribution Order; and

(f) the Settlement Class Members for all matters relating to the Action.

       15. Separate orders shall be entered regarding approval of a plan of


allocation and the motion of Lead Counsel for an award of attorneys' fees and


Litigation Expenses. Such orders shall in no way affect or delay the finality of this

Judgment and shall not affect or delay the Effective Date of the Settlement.


       16. Modification of the Agreement of Settlement - Without further


approval from the Court, Lead Plaintiff and Defendants are hereby authorized to


agree to and adopt such amendments or modifications of the Stipulation or any


exhibits attached thereto to effectuate the Settlement that: (a) are not materially


inconsistent with this Judgment; and (b) do not materially limit the rights of

Settlement Class Members in connection with the Settlement. Without further order


of the Court, Lead Plaintiff and Defendants may agree to reasonable extensions of


time to carry out any provisions of the Settlement.


      17. Termination of Settlement - If the Settlement is terminated as


provided in the Stipulation or the Effective Date of the Settlement otherwise fails to

occur, this Judgment shall be vacated and rendered null and void, and shall be of no


further force and effect, except as otherwise provided by the Stipulation, and this




                                          12
     Case 1:17-cv-03463-TWT Document 182 Filed 06/26/20 Page 13 of 14
     Case l:17-cv-03463-TWT Document 177-1 Filed 06/19/20 Page 14 of 15




Judgment shall be without prejudice to the rights of Lead Plaintiff, the other

Settlement Class Members, and Defendants, and Lead Plaintiff and Defendants shall


revert to their respective positions in the Action as of immediately prior to the


execution of the Term Sheet on November 16, 2019, as provided in the Stipulation.


      18. Entr^ of Final Judgment - There is no just reason to delay the entry


of this Judgment as a final judgment in this Action. Accordingly, the Clerk of the

Court is expressly directed to immediately enter this final judgment in this Action.


      SO ORDERED this 5.^ day of Q^u^ 2020.




                                      ^h^hr.^^
                                      The Honorable Thomas W. Thrash, Jr.
                                              United States District Judge




                                         13
    Case 1:17-cv-03463-TWT Document 182 Filed 06/26/20 Page 14 of 14
     Case l:17-cv-03463-TWT Document 177-1 Filed 06/19/20 Page 15 of 15




                                  Exhibit 1

                 List of Persons and Entities Excluded from
                 the Settlement Class Pursuant to Reauest


James L. Goodspeed IRA Standard
Decatur, GA


James L. Goodspeed and Carole L. Goodspeed
Decatur, GA




                                     14
